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UNITED STATES DISTRICT COURT

 

WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION
Janice A Ha.milton
1504 East Main Street
Savannah, Tennessee 383 72
Plaintiff,
v Civil Action No. 05-1037

Jo Anne B. Barnhart
Commissioner of
Social Security,

Defendant.

ORDER
Wherefore, for good cause shown and it appearing to the court that Plaintiff

requires extra time to prepare PlaintifF s brief, and, because the United States Attorney
representing the government in this matter consents to the additional time requested,

lt is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an

additional period of time, up to and including July 20, 2005, to file Plaintiff’s brief in support of

OWA~ earth

Distric `ourt Judge

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her Cornplaint.

 

 

Th!s document entered on the docket sheet In compliance

with nuts se and,-'or_rs (a) FncP on ( gl{) - 2 f ~ 05

 

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901 -424- 1305
TN BPR # 006600

Certiticate of Service
I certify that I have mailed a true and exact copy fo the foregoing Proposed Order
to Joseph Dycus, Assistant United States Attorney, 800 Federal 0 tice Buil ng, 167 North Main
Street, Memphis TN 38103, this the 20"‘ day 0 n 2005. //

///'/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01037 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Roger Stanfleld

LAW OFFICE OF ROGER STANFIELD
P.O. BoX 3338

Jacl<son7 TN 38303--333

Honorable .1 ames Todd
US DISTRICT COURT

